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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF        §
AMERICA,                             §
                                     §
    Plaintiff and Counter-Defendant, §
                                     §
and                                  §
                                     §
WAYNE LAPIERRE,                      §
                                     §
    Third-Party Defendant,           §
                                     §
v.                                   §                   Case No. 3:19-cv-02074-G
                                     §
ACKERMAN MCQUEEN, INC.,              §
                                     §
    Defendant and Counter-Plaintiff, §
                                     §
and                                  §
                                     §
MERCURY GROUP, INC., HENRY           §
MARTIN, WILLIAM WINKLER,             §
MELANIE MONTGOMERY, AND JESSE §
GREENBERG,                           §
                                     §
    Defendants.

   DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR LEAVE TO FILE
   UNDER SEAL CERTAIN EXHIBITS TO THEIR MEMORANDUM OF LAW IN
    OPPOSITION TO DEFENDANTS’ MOTION TO DISQUALIFY PLAINTIFF’S
                            COUNSEL

       Ackerman McQueen, Inc. (“AMc”), Mercury Group, Inc. (“Mercury Group”), Henry

Martin (“Martin”), William Winkler (“Winkler”), Melanie Montgomery (“Montgomery”), and

Jesse Greenberg (“Greenberg”) (collectively, “Defendants”) file this Response to Plaintiff’s

Motion for Leave to File Under Seal Certain Exhibits to Their Memorandum of Law in Opposition

to Defendants’ Motion to Disqualify Plaintiff’s Counsel (the “Response” to the “Motion” by the

“NRA”) (ECF 123), and respectfully show as follows:

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       On May 4, 2020, the NRA filed its Motion to submit supporting evidence for its Response

to Defendants’ Motion to Disqualify Plaintiff’s Counsel. See ECF 121, 123. Specifically, the

NRA moved to file under seal certain deposition excerpts from Millie Hallow (and deposition

Exhibit 15) and Carolyn Meadows (and deposition Exhibit 10). ECF 123 at 1-2. While Defendants

do not oppose the Motion, Defendants object that the above-referenced documents are

confidential, and intend to seek the appropriate relief with the court in the event that they are unable

to reach an agreement with the NRA. Defendants do not intend to waive, and expressly reserve,

their rights to challenge the confidentiality designations of those four documents.

Dated: May 25, 2020.

                                               Respectfully submitted,

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                                               ACKERMAN MCQUEEN, INC., MERCURY
                                               GROUP, INC., HENRY MARTIN, JESSE
                                               GREENBERG, WILLIAM WINKLER, AND
                                               MELANIE MONTGOMERY



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 25, 2020, I filed the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas. I hereby certify that I have served the
document on all counsel and/or pro se parties of record by a manner authorized by Federal Rules
of Civil Procedure 5(b)(2).

                                               /s/ G. Michael Gruber
                                               G. Michael Gruber, Esq.




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